Case 2:19-cv-02874-SVW-MAA Document 51 Filed 10/28/19 Page 1 of 3 Page ID #:636



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  12   CALLFIRE, INC.
  13
                              UNITED STATES DISTRICT COURT
  14
                             CENTRAL DISTRICT OF CALIFORNIA
  15
                                       WESTERN DIVISION
  16
  17   LEE WIGOD, individually and on             Case No. 2:19-cv-02874-SVW-MAA
  18   behalf of all others similarly situated,
                                                  Assigned for all purposes to
  19                    Plaintiff,                Judge Stephen V. Wilson

  20         v.                                   PROOF OF SERVICE OF
                                                  [PROPOSED] SEALED
  21   CALLFIRE, INC.,                            DOCUMENTS – DKT. NO. 49

  22                    Defendant.
                                                  Complaint filed: April 15, 2019
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                                                                           PROOF OF SERVICE
                                                                       2:19-cv-02874-SVW-MAA
Case 2:19-cv-02874-SVW-MAA Document 51 Filed 10/28/19 Page 2 of 3 Page ID #:637



   1                                 PROOF OF SERVICE
   2
   3         I, Kim Edmonds, declare:
   4         I am a citizen of the United States and employed in Orange County,
   5   California. I am over the age of eighteen years and not a party to the within-entitled
   6   action. My business address is 3161 Michelson Drive, Suite 800, Irvine, California
   7   92612.4408. On October 28, 2019, I served a copy of the within documents:
   8         1.     Declaration of Jagannathan Thinakaran In Support of Defendant
   9   CallFire, Inc.’s Application for Leave to File Under Seal Documents In
  10   Connection with Its Motion for Summary Judgment;
  11         2.     Defendant’s Memorandum of Point and Authorities In Support of
  12   Its Motion for Summary Judgment - [PROPOSED] UNDER SEAL;
  13         3.     [PROPOSED] Statement of Uncontroverted Facts and
  14   Conclusions of Law In Support of Defendant CallFire, Inc.’s Motion for
  15   Summary Judgement -[PROPOSED] UNDER SEAL;
  16         4.     Declaration of Jagannathan Thinakaran In Support of Defendant
  17   CallFire, Inc.’s Motion for Summary Judgment - [PROPOSED] UNDER
  18   SEAL;
  19         5.     Exhibit 8 to Declaration of Jagannathan Thinakaran In Support of
  20   Defendant CallFire, Inc.’s Motion for Summary Judgment - [PROPOSED]
  21   UNDER SEAL; and
  22         6.     Exhibit 9 to Declaration of Jagannathan Thinakaran In Support of
  23   Defendant CallFire, Inc.’s Motion for Summary Judgment - [PROPOSED]
  24   UNDER SEAL.
  25
                   by placing the document(s) listed above in a sealed envelope with
  26
                    postage thereon fully prepaid, in the United States mail at Irvine,
  27                California addressed as set forth below.
  28
                                                                            PROOF OF SERVICE
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Case 2:19-cv-02874-SVW-MAA Document 51 Filed 10/28/19 Page 3 of 3 Page ID #:638



   1               by transmitting via e-mail or electronic transmission the document(s)
   2                listed above to the person(s) at the e-mail address(es) set forth below.

   3
             Aaron D. Aftergood
   4         The Aftergood Law Firm
             1880 Century Park East, Suite 200
   5         Los Angeles, CA 90067
             Phone: (310) 550-5221
   6         Fax: (310) 496-2840
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   8         Steven L. Woodrow
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  11         Fax: (303) 927-0809
             Email: swoodrow@woodrowpeluso.com
  12         Email: tsmith@woodrowpeluso.com
  13
             Attorney for Plaintiff
  14
  15         I am readily familiar with the firm's practice of collection and processing

  16   correspondence for mailing. Under that practice it would be deposited with the

  17   U.S. Postal Service on that same day with postage thereon fully prepaid in the

  18   ordinary course of business. I am aware that on motion of the party served, service

  19   is presumed invalid if postal cancellation date or postage meter date is more than

  20   one day after date of deposit for mailing an affidavit.

  21         I declare that I am employed in the office of a member of the bar of this court

  22   at whose direction the service was made.

  23         Executed on October 28, 2019, at Irvine, California.

  24
  25                                           /s/ Kim Edmonds
                                               Kim Edmonds
  26
  27
  28
                                                                             PROOF OF SERVICE
                                                                         2:19-cv-02874-SVW-MAA
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